     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 1 of 11 Page ID
                                      #:3611

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      ATTORNEYS FOR PLAINTIFF, DON WAKEFIELD
14
15                          UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17                                  SOUTHERN DIVISION
18
19     DON WAKEFIELD,                                 Case No.: 8:21-cv-1585-CJC-DFM
20                                   Plaintiff,       PLAINTIFF'S ANSWERS AND
21                                                    OBJECTIONS TO DEFENDANTS'
       V.
22                                                    FIRST SET OF
       IGOR OLENICOFF, OLEN                           INTERROGATORIES TO
23     PROPERTIES CORP.; JOHN LIANG                   PLAINTIFF, DON WAKEFIELD
       and DOES 1 through 10, inclusive,
24
                                                      Complaint Filed: September 27, 2021
25                                 Defendants,
                                                      Trial Date:      February 21, 2023
26
27                                                    Assigned to: Hon. Cormac Carney

28            PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                      INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                            8:2 l-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 2 of 11 Page ID
                                      #:3612

 1
 2          Plaintiff, DON WAKEFIELD, for his Answers and Objections to Defendants' First
 3
      Set of Interrogatories, state as follows:
 4
                                            INTRODUCTION
 5
            Plaintiff has not completed the investigation of the facts relating to this case, and has
 6
      not completed trial preparation. All the answers contained herein are based only upon such
 7
      information and documents as are presently available to, and specifically known by
 8
      Plaintiff. The following answers are given without prejudice to Plaintiffs right to produce
 9
      evidence of any subsequently discovered fact or facts which Plaintiff may later recall or
10
      uncover. Plaintiff accordingly reserves the right to amend any and all answers herein as
11
      any additional facts are ascertained, analysis made, discovery is undertaken and legal
12
      research is completed.
13
                                       GENERAL OBJECTIONS
14
             1.      Plaintiff objects to each and every interrogatory to the extent it seeks
15
      information or documents privileged under law, whether pursuant to the attorney-client
16
      privilege, the work produce doctrine, or otherwise. All references to "privileged"
17
      information in these responses will include, without limitation, the attorney-client
18
      privilege, the work product doctrine, and all applicable common law or constitutional
19
      privileges. Plaintiff therefore construes each interrogatory to exclude information
20
      protected from disclosure by any privilege or the work product doctrine. Plaintiff reserves
21
      the right to object to the introduction into evidence of information or documents that are
22
      privileged under law or that have been revealed inadvertently.
23
             2.      Plaintiff objects to each and every interrogatory to the extent such
24
      interrogatories are vague, ambiguous, overly broad, burdensome, repetitive and excessive
25
      in scope. Plaintiff objects to all interrogatories which require the identification and
26
      production of "all" documents with regarding to a particular interrogatory as it is not
27
28                PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                          INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                   8:2 l-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 3 of 11 Page ID
                                      #:3613


 1 practical to require Plaintiff to review each document in every one of its files to
 2    determine if it may be responsive. To the extent that Defendants seek to require Plaintiff
 3    to do more than use reasonable diligence based upon an examination of such files that
 4    may be reasonably expected to yield such documents, Plaintiff objects on the grounds
 5    that these interrogatories are vague, ambiguous, overly broad and would subject Plaintiff
 6    to oppression, harassment, undue burden and expense.
 7          3.       As used herein, all objections as to relevancy shall mean that the information
 8    sought is irrelevant to the subject matter involved in the pending action, as the request is
 9    not reasonably calculated to lead to the discovery of admissible evidence. Plaintiff
10    objects to each interrogatory to the extent that it is unlimited in time/or not limited to the
11    time relevant to this litigation as being overly broad and burdensome, and not relevant.
12          4.       Plaintiff objects to each and every interrogatory to the extent such
13    interrogatories seek information or documents that are not within Plaintiffs possession,
14    custody or control.
15          5.       Plaintiff objects to all interrogatories to the extent they prematurely seek the
16    disclosure of expert information. Such information will not be disclosed until a timely
17    demand for exchange of expert witness information is made.
18          6.       Plaintiffs attorneys have not fully completed their investigation of the facts
19    related to this case, discovery in this action, and preparation for trial; thus, all of the
20    following answers are based only upon such information and documents that are
21    presently available and specifically known to Plaintiff. These answers are given without
22    prejudice to Plaintiffs right to produce evidence of any subsequently discovered fact or
23    facts. Accordingly, Plaintiff reserves his right to change and/or supplement any and all of
24    the following answers as additional facts are ascertained, analysis is made, legal research
25    is completed and contentions are formulated.
26           7.      All general objections are incorporated by this reference into each and every
27    specific response below as if fully set forth herein.
28                PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                          INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                    8:21-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 4 of 11 Page ID
                                      #:3614

 1                           INTERROGATORIES TO PLAINTIFF
 2    1.    Please state the name, home and business address of the person answering these
 3          interrogatories and, if applicable, the person's official position or relationship with
 4          the party to whom the interrogatories are directed.
 5          ANSWER: Don Wakefield
 6                        c/o SmithAmundsen
 7    2.    Have you ever been convicted of a crime, other than any juvenile adjudication, which
 8          under the law under which you were convicted was punishable by death or
 9          imprisonment in excess of one (1) year, or that involved dishonesty or a false
10          statement regardless of the punishment? If so, state as to each conviction the specific
11          crime and the date and place of conviction.
12          ANSWER: No.
13    3.    Please state the role John Liang played in connection with the allegations contained
14          in the Complaint.
15          ANSWER: Plaintiff believes that Liang acted as a broker, ordering the copies that
16          Defendants specified by providing him pictures, facilitated production in China and
17          coordinated the shipping of the copies from the Chinese manufacturer to the
18          Defendants.
19    4.    Do you contend that you have lost any income as a result of the allegations contained
20          in your Complaint? If so, state the nature of the income lost, the amount of income
21          lost, and the method that you used in computing that amount.
22          ANSWER: Plaintiff contends that he has lost income as a result of the matters stated
23          in the Complaint, but Plaintiff has not yet calculated his lost income.
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28            PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                      INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                8:21-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 5 of 11 Page ID
                                      #:3615


 1    5.    Do you contend that the Defendant, Olen Properties Corp., profited from the alleged
 2          display of the subject sculptures? If so, state the amount you believe Olen Properties
 3          Corp. earned and the method you used in computing that amount.
 4          ANSWER: Plaintiff contends that Olen Properties has profited from the display of
 5          the infringing sculptures. The amount of profit is not yet known.
 6    6.    Do you contend that the Defendant, Igor Olenicoff, profited from the alleged display
 7          of the subject sculptures? If so, state the amount you believe Igor Olenicoff earned
 8          and the method you used in computing that amount.
 9          ANSWER: Plaintiff contends that Defendant Igor Olenicoff has profited from the
10          display of the infringing sculptures. The amount of profit is not yet known.
11    7.    Please explain in detail how the instant lawsuit is not in violation of Paragraph 6 of
12          the Mutual Release and Settlement Agreement entered into between Plaintiff and
13          Defendants, Olen Properties Corp. and Igor Olenicoff, dated November 12, 2015,
14          and attached hereto as Exhibit A.
15          ANSWER: Plaintiff objects to the extent that this Interrogatory call for a legal
16          conclusion. Subject to that objection and without waiving it, Plaintiff states that the
17          Mutual Release and Settlement Agreement did not release future acts of
18          infringement. In addition, it was procured by fraud as set out in Plaintiffs Complaint
19          and should be rescinded.
20    8.    List all copyrights that Plaintiff has for sculptures other than Untitled.
21          ANSWER: Plaintiff objects on the grounds that this interrogatory is irrelevant,
22          especially as directed to copyrights rather than registrations.          Plaintiff owns
23          copyrights in each original work of authorship he has created or co-created. Subject
24          to and without waiving that objection, and construing the interrogatory to be directed
25          solely to copyright registrations, Plaintiff responds: none.
26
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28            PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                      INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                  8:2 l-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 6 of 11 Page ID
                                      #:3616


 1    9.    What specific investigation did you undertake to determine the existence and
 2          location of the purported infringing sculptures before entering into the Mutual
 3          Release and Settlement Agreement.
 4          ANSWER: Plaintiff objects on the grounds that this interrogatory is irrelevant.
 5          Subject to that objection and without waiving it, Plaintiff states that he reviewed
 6          photographs on the Olen Properties web site. Plaintiff also visited some, but not all,
 7          of the Olen Properties buildings in Southern California. Plaintiff did not visit any
 8          Olen Properties buildings outside of Southern California.
 9
10    10.   Do you have the present financial ability to repay the $110,000 to Defendant, Olen
11          Properties Corp., if ordered by the Court to do so?
12          ANSWER: Plaintiff objects on the grounds that this interrogatory is irrelevant,
13          vague as to "ability to repay," and violative of Plaintiffs right of privacy.
14    11.   Describe all facts indicating that Igor Olenicoff had personal knowledge that the
15          subject sculptures were located in Boynton Beach, Florida at the time the Mutual
16          Release and Settlement Agreement was executed.
17          ANSWER: Plaintiffbelieves that Olenicoff was aware of the infringing sculptures
18          being installed in 2014 and thus had personal knowledge of their location at the time
19          the Mutual Release and Settlement Agreement was executed.
20    12.   Describe all facts indicating that Igor Olenicoff had personal knowledge that the
21          subject sculptures were located in Boynton Beach, Florida at the time his December
22          18, 2017 Affidavit was executed.
23          ANSWER: Plaintiff believes that Olenicoff was aware of the infringing sculptures
24          being installed in 2014 and thus had personal knowledge of their location at the time
25          the Mutual Release and Settlement Agreement was executed.
26
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28            PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                      INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                 8:2 l-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 7 of 11 Page ID
                                      #:3617


 1
 2    13.   Describe all facts supporting the allegation in paragraph 102 of the Complaint that
 3          "[ eJach Olenicoff Entity is ... engaged in interstate commerce."
 4          ANSWER: Plaintiff objects to the extent that this Interrogatory call for a legal
 5          conclusion. Subject to that objection and without waiving it, Plaintiff states that
 6          Olen Properties has locations and affiliates in at least two states in the United States,
 7          and it and its affiliates transact interstate commerce with counterparties from many
 8          other states.
 9    14.   Which "members" are you referring to in paragraph 103 of your Complaint who
10          have "functioned for years as a continuing unit for the common purpose of achieving
11          the activities described in this Complaint?"
12          ANSWER: Plaintiff objects to the extent that this Interrogatory call for a legal
13    conclusion, and on the grounds that this is a contention interrogatory served at the
14    beginning of discovery. Plaintiff has not had the opportunity to investigate and discover
15    all members of the Broader Enterprise described in paragraph 103. Plaintiff reserves the
16    right to amend this response at the close of discovery. Subject to these objections and
17    without waiving them, Plaintiff has thus far identified the members as Olenicoff, Olen
18    Properties, John Liang and Quantum Town Center, LLC.
19    15.   What is the private financial gain referenced in paragraph 105 of the Complaint?
20          ANSWER: Plaintiff objects to the extent that this Interrogatory call for a legal
21    conclusion. Subject to that objection and without waiving it, Plaintiff states that defendants
22    have had financial gain by avoiding obtaining and paying for lawful copies of all of the
23    work they infringed, including avoiding payment of license fees for each of the infringing
24    uses they made of the work, and by using cheap knock-offs to satisfy public art
25    requirements.
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28             PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                       INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                  8:21-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 8 of 11 Page ID
                                      #:3618


 1    16.   What reproduction and distribution occurred during a 180-day period of multiple
 2          copyrighted works as referenced in paragraph 106 of the Complaint? When did the
 3          180-day period begin and when did it end?
 4          ANSWER: Plaintiff objects to the extent that this Interrogatory call for a legal
 5    conclusion. Subject to that objection and without waiving it, Plaintiff states that the
 6    defendants engaged in a large number of past infringements of works that, all by
 7    themselves, had a retail value in excess of $1,000. No 180-day aggregation period is
 8    required for any such work. Alternatively, one could say that each infringement of such a
 9    work began and ended its own 180-day period.
10    17.   State all persons you communicated with regarding the allegations of your
11          Complaint, including name and contact information.
12          ANSWER: Glenn Weiss (see Plaintiff's Initial Voluntary Disclosure)
13                         Bill Bedford (see Plaintiff's Initial Voluntary Disclosure)
14    18.   Please state all licenses you have granted for the use of your artwork, including the
15          value of any compensation received for said license.
16          ANSWER: None.
17    19.   Please state all sales of your artwork, including the name of the piece, type of piece,
18          and the sales price of the piece.
19    ANSWER: Plaintiff objects on the grounds of relevance insofar as this Interrogatory
20    requests information regarding artwork that is not large scale. Subject to that objection and
21    without waiving it, Plaintiff states that the following represents a list of large scale,
22    contemporary sculptures sold by Plaintiff:
23    Title of Sculpture                        Price
24    "Dimensional Language"                    $54,000
25    "Daughter and Daddy"                   $24,000
26    "Never Ending Puzzle"                     unknown
27    "Police monument"                      $29,000
28             PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                       INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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                                                                                 8:2 l-cv-1585-CJC-DFM
     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 9 of 11 Page ID
                                      #:3619

 1    "Reflection of a Language"        unknown
 2    "Untitled"                         $35,000
 3    "Chino, Where Everything Grows" $56,000
 4    "New Moon"                         $23,000
 5    "Language for Three"              $45,000
 6    "The Glow Show"                    $30,000
 7    "Fish Tower"                       unknown
 8    "Round House"                      $40,000
 9    "Diving Owl"                        $32,000
10    "The Balance Between F &D"        unknown
11    "Group in Red"                     unknown
12    "Native Blooms"                    $13,000
13    "California Beams"                 $12,000
14    "The Great American Life"         $6,500
15    "Behind the Mask"                 $45,000
16    "Citrus Series"                    $40,000
17
18
       Dated: May 27, 2022.
19
20                                               Isl Gene J Brock/and
                                                 GENE J. BROCKLAND
21
                                                 SMITHAMUNDSEN LLC
22                                               Attorneys for Plaintiff Don Wakefield
23
24
25
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28             PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                       INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 10 of 11 Page ID
                                  #:3620



 1   STATE OF MICHIGAN               )
 2
                                     ) ss
     COUNTY OF 6/A,/,,(£             )
 3
                                         VERIFICATION
 4
 5          I, Don Wakefield, being of lawful age and duly sworn, state that the foregoing
     Answers and Objections to Defendants' First Set of Interrogatories are true and accurate
 6
     to the best of my knowledge and belief.
 7
 8
 9
10
     Subscribed and sworn to before me thi~       ay of May, 2022.
11
12

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15
                                                          STATE of   Yb i cb     0Ji-n .
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18
                                                                      PATTI DEE MOUSSEAU
                                                                  Notary Public - State of Mtchlpn
19                                                                      County of Washtenaw
                                                                My Commission ExpirJ -1,an 2, 2027
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                                                               Acttn9 In the County ofV]CbhkouJ




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28           PLAINTIFF'S A..."KS\VERS A...,""D OBJECTIONS TO DEFE~""DA.NTS' FIRST SET OF
                     INTERROGATORIES TO PLA.Il\1IFF, DON WAKEFIELD
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     Case 8:21-cv-01585-CJC-DFM Document 110-7 Filed 12/12/22 Page 11 of 11 Page ID
                                       #:3621

 1                               CERTIFICATE OF SERVICE
 2
            I hereby certify that on May 27th, 2022, the attached document was
 3    electronically transmitted to:
      Spencer M. Sax
 4
      Sachs Sax Caplan
 5    6111 Broken Sound Parkway NW, Suite 200
      Boca Raton, FL 33487
 6
      Tel: (561) 994-4499
 7    Fax: (561) 994-4985
      Email: ssax@ssclawfirm.com
 8
 9    Julie A. Ault, Esq. (Bar No. 186914)
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      Tel.: (949) 719-7212
12
      Fax: (949) 719-7210
13    Email: jault@olenproperties.com
14
      Attorneys for Defendants
15
16
            I declare under penalty of perjury under the laws of the State of Missouri and the
17    United States of America that the foregoing is true and co     . Executed on May 27th,
      2022 at St. Louis, MO.
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28             PLAINTIFF'S ANSWERS AND OBJECTIONS TO DEFENDANTS' FIRST SET OF
                       INTERROGATORIES TO PLAINTIFF, DON WAKEFIELD
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